                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:12-00076
                                                    )       JUDGE CAMPBELL
ALLEN ROY WALKER, et al.                            )

                                             ORDER

         Pending before the Court is Defendant Megan Johnson’s Motion to Reset Status Conference

(Docket No. 171) currently scheduled for February 22, 2013. The Motion is GRANTED.

         The status conference is RESCHEDULED for March 8, 2013, at 2:00 p.m.

         It is so ORDERED.



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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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